






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00742-CR

NO. 03-10-00744-CR






Derrick Lavaldemar Times, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NOS. 62195 &amp; 61545, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		This is an appeal pursuant to Anders v. California, 386 U.S. 738 (1967).  In appellate
cause number 03-10-00742-CR, appellant Derrick Lavaldemar Times pleaded guilty to the offense
of burglary of a building.  The district court entered an order of deferred adjudication and placed
Times on community supervision for a period of five years.  In appellate cause number 03-10-00744-CR, Times pleaded guilty to the offense of possession of a controlled substance in an amount
less&nbsp;than one gram.  The district court assessed punishment at two years in state jail, but suspended
imposition of the sentence and placed Times on community supervision for a period of five years.

		Subsequently, the State filed a motion to adjudicate in cause number 03-10-00742-CR
and a motion to revoke in cause number 03-10-00744-CR.  The motions, which were largely
identical, both alleged that Times had violated numerous terms and conditions of his community
supervision.  At a hearing before the district court, Times pleaded true to the alleged violations.  The
district court found the allegations to be true, revoked Times's community supervision, adjudicated
him guilty, and sentenced him to 24 months in state jail for each cause.  This appeal followed.

		In each cause, Times's court-appointed attorney has filed a motion to withdraw
supported by a brief concluding that the appeal is frivolous and without merit.  The brief meets
the&nbsp;requirements of Anders v. California by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See 386 U.S. at 744-75; see also
Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie
v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim.
App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Times received a copy of
counsel's brief and was advised of his right to examine the appellate record and to file a pro se brief.
No pro se brief has been filed.

		We have reviewed the record in each cause and counsel's brief and agree that the
appeals are frivolous and without merit.  We find nothing in the record that might arguably support
the appeals.  In each cause, counsel's motion to withdraw is granted.

		We affirm the judgment adjudicating guilt in cause number 03-10-00742-CR and the
judgment revoking community supervision in cause number 03-10-00744-CR.


						__________________________________________

						Bob Pemberton, Justice

Before Justices Puryear, Pemberton and Rose

Affirmed

Filed:   August 4, 2011

Do Not Publish


